
MEMORANDUM OPINION.
Littleton:
The Commissioner determined a deficiency of $4,236.13 for the calendar year 1919. Petitioner claims (1) that the deficiency is barred by the statute of limitation; (2) that said tract of land, consisting of 132 acres, sold in 1919 for $49,000, had a fair market value of $450 an acre on March 1, 1913. The Commissioner determined the March 1,1913, value of $150 an acre.
Petitioner is a resident of Chillicothe, Ohio, and was the owner of a farm near that city which he inherited from his father in 1875. In 1919 it was necessary for the United States Government to have a portion of this farm for use as a military post, afterwards known as Camp Sherman, and in that year the United States purchased 132 acres of the farm, paying the petitioner $49,000 therefor. The fair market value of the land on March 1, 1913, was $400 an acre.

Judgment will be entered under Rule 50.

